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                                                                             (SPACE BELOW FOR FILING STAMP ONLY)

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            SALVADOR GUTIERREZ MACHUCA
 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                             EASTERN DISTRICT OF CALIFORNIA

10                                              ******

11   UNITED STATE OF AMERICA,                           Case No.: 1:09CR0339 OWW

12                      Plaintiff,
                                                                 STIPULATION RE:
13              v.                                         CONTINUANCE OF SENTENCING

14   SALVADOR GUTIERREZ MACHUCA,                                             and
15                      Defendant.                                         ORDER
16

17          IT IS HEREBY STIPULATED by and between the parties herein that the Sentencing
18   currently scheduled for May 23, 2011, at 1:30 p.m. be continued to June 27, 2011, at 1:30
19   p.m. before the Honorable OLIVER W. WANGER.
20          This request is based upon the fact that counsel for Mr. Machuca and the Government
21   need additional time to resolve issues related to Section 5K1.1.
22          Assistant United States Attorney Escobar was unavailable for a period of time, so the
23   sentencing was continued in part to accommodate her absence. Mr. Machuca’s counsel
24   contacted Ms. Escobar on May 12, 2011, to ascertain her return to service. Ms. Escobar
25   reported she was returning the week of May 16, 2011. On May 16, 2011, Counsel and Ms.
26   Escobar agreed to continue the sentencing to permit Mr. Machuca an opportunity to qualify for
27   5K1.1 consideration.
28          Counsel’s staff has been in touch with Ms. Karen Escobar of the United States

                                                    1       STIP. RE: CONTINUANCE OF SENTENCING & ORDER
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 1   Attorney’s Office, who has no objection to such a continuance.

 2                            It is your Declarant’s opinion that a continuance such as requested shall not prejudice

 3   any party concerned with this matter.

 4                            DATED: May 19, 2011.                  Respectfully submitted.

 5                                                                  NUTTALL COLEMAN & WILSON

 6                                                            BY:    /s/ Roger D. Wilson
                                                                    ROGER D. WILSON
 7                                                                  Attorneys for Defendant
 8                                                                  SALVADOR GUTIERREZ MACHUCA

 9
                              DATED: May 19, 2011.
10
                                                              BY:    /s/ Karen Escobar
11                                                                  KAREN ESCOBAR
                                                                    Assistant United States Attorney
12
                                                               ORDER
13

14                            Good cause appearing,
15                            IT IS ORDERED that the Sentencing currently scheduled for May 23, 2011, at 1:30
16   p.m. is continued to June 27, 2011, at 1:30 p.m.
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19   IT IS SO ORDERED.

20                         Dated:   May 19, 2011                                 /s/ Oliver W. Wanger
21   DEAC_Signature-END:
                                                                         UNITED STATES DISTRICT JUDGE

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                                                                     2       STIP. RE: CONTINUANCE OF SENTENCING & ORDER
